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                    IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF PUERTO RICO




   IN THE MATTER OF                                CASE NO. 18-05288 EAG

   Skytec, Inc.                                    CHAPTER 11

   Debtors



    LOGISTIC’S RESPONSE TO DEBTOR’S APPLICATION FOR FINAL DECREE

  TO THE HONORABLE COURT:

         COMES NOW Logistic Systems, Inc. (“Logistic” or “LogiSYS”), by and through its

  undersigned counsel, and respectfully States:

     1. This Honorable Court entered the confirmation order of Skytec’s Plan of

         Reorganization on February 20, 2020. Docket No. 323.

     2. LogiSYS informs that it received the payments that were due on the Effective Date as

         that concept is defined under the Plan.

     3. Skytec filed its application for a final decree on April 17, 2020. Docket No. 343.

     4. The plan provides for this Honorable Court to retain exclusive jurisdiction to entertain

         all controversies and disputes that may arise in connection with the interpretation,

         enforcement, or consummation of the plan. Docket No. 250, p. 21.

     5. A final decree closing the case after the estate is fully administered does not deprive

         this Court of jurisdiction to enforce or interpret its orders and does not prevent the

         court from reopening the case for cause, if necessary, under section 350 of the

         Bankruptcy Code, 11 USC §350(b).
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     6. Since this Court will retain jurisdiction over the pending obligations assumed under

         the plan, such as the Plan Administrator's duties and the reporting requirements by the

         Debtor and the Administrator, as well as the compliance with the payments scheduled

         under the plan, LogiSYS has no objection to the Debtor’s application for the final

         decree.

         WHEREFORE, it is respectfully requested from this Honorable Court to take notice

  of this response and enter the orders it deems proper.

                                  CERTIFICATE OF SERVICE

         I certify that on this same date, I electronically filed the foregoing with the Clerk of the
  Court using the CM/ECF system which will send notification of such filing to Alex Fuentes,
  Esq., counsel for the Debtor, the US Trustee, and all CM/ECF participants.


             RESPECTFULLY SUBMITTED.

             In San Juan, Puerto Rico, on April 27, 2020.


                                  CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on this same date I electronically filed the foregoing document
  with the Clerk using CM/ECF system, which will send notification of such filing to Debtor(s)
  attorney, the US Trustee and to all CM/ECF participants.

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